99 F.3d 1140
    79 A.F.T.R.2d 97-1483, 96-2 USTC  P 50,595
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Petitioner-Appellee,v.Wayne L. PATRICK, Respondent-Appellant.
    No. 95-2083.
    United States Court of Appeals, Sixth Circuit.
    Oct. 17, 1996.
    
      Before:  LIVELY, BOGGS, and NORRIS, Circuit Judges.
      MEMORANDUM OPINION
      PER CURIAM.
    
    
      1
      Wayne L. Patrick appeals from an order of the district court that granted the petition of the Internal Revenue Service to enforce its summons.
    
    
      2
      Having had the benefit of oral argument, and having carefully considered the record on appeal and the briefs of the parties, we are not persuaded that the district court erred in granting the petition.
    
    
      3
      As the reasons why the petition should be granted have been articulated by the district court, the issuance of a full written opinion by this court would be duplicative and serve no useful purpose.  Accordingly, the order of the district court is affirmed upon the reasoning set out by that court in its Order dated September 11, 1995.
    
    